It is set up in the complaint that the *Page 164 
notes in suit were executed by the president of the defendant corporation "under the seal of the defendant which seal was attached and affixed to said note at said time." The notes have not been set up in the complaint nor have they been made a part of the pleadings by motion.
It is said in Caputo vs. DeLoretto, 110 Conn. 413, quoting from another case, "Whether an instrument is under seal or not is a question for the court upon inspection. . . ."
But it would appear by General Statutes 1930, Sec. 5615,
that while where an individual or corporation has no official or corporate seal and executes an instrument, evidence may be introduced that the instrument was intended to be a specialty or under seal, but where a corporate seal is affixed the instrument is "deemed in all respects a sealed instrument."
   The demurrer is sustained.